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4                             UNITED STATES DISTRICT COURT

5                            EASTERN DISTRICT OF CALIFORNIA

6

7     UNITED STATES OF AMERICA,                    No. 2:15-cr-125-GEB
8                        Plaintiff,
9            v.                                    VOIR DIRE, INITIAL JURY
                                                   INSTRUCTIONS, JURY INSTRUCTIONS
10    BENJAMIN MACIAS,                             THAT MAY BE GIVEN IN THE COURSE
                                                   OF TRIAL, PROPOSED CLOSING JURY
11                       Defendant.                INSTRUCTIONS, A PROPOSED VERDICT
                                                   FORM; AND RESTRAINTS ORDER
12

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14                 Attached are the court’s voir dire questions, initial

15   jury instructions, instructions that may be given in the course of

16   trial    if   a     party    makes   the   request,      proposed    closing      jury

17   instructions, and a proposed verdict form.

18                 The     bracketed      and/or       optional   language     shall    be

19   clarified, and any proposed changes to these documents shall be

20   filed by a party or the parties as soon as feasible.

21                 Trial commences at 9:00 a.m. on November 6, 2018.

22                 Lastly,       Defendant   will       appear    at   trial   with    leg

23   restraints that are shielded from a juror’s view by the wood panels

24   on counsel table, where he will be seated; a deputy United States

25   Marshal informed the undersigned today that counsel agree with the

26   referenced restraints.

27                 Dated:    November 1, 2018

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1                            UNITED STATES DISTRICT COURT

2                           EASTERN DISTRICT OF CALIFORNIA

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4     UNITED STATES OF AMERICA,                 No. 2:15-cr-125-GEB
5                       Plaintiff,
6           v.                                  VOIR DIRE
7     BENJAMIN MACIAS,
8                       Defendant.
9
                  Thank you for your presence and anticipated cooperation
10
     in   the    questioning   process     we   are    about   to   begin.      You   are
11
     performing an important function in our constitutional democracy.
12
                  The court personnel who will assist me in this trial are
13
     on the platform below me.         The Courtroom Deputy is Shani Furstenau.
14
     Next to her is the Certified Court Reporter.               Ms. Furstenau please
15
     administer the oath to the prospective jurors.
16
                  We are about to begin what is known as voir dire.                   Voir
17
     dire consists of questions designed to provide the court and the
18
     parties     with    information    about       each   potential   juror.     After
19
     questioning is complete, the parties will exercise what are known
20
     as peremptory challenges.
21
                  1.     Counsel,    the    Jury       Administrator     has    already
22
     randomly selected potential jurors and their names are on the sheet
23
     you have been given in the order of the random selection.                        Each
24
     potential juror has been given a large laminated card or number
25
     showing the numerical order in which the potential juror was
26
     randomly selected.
27
                  2.     I will ask potential jurors questions as a group.
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1    If a potential juror has a response, he or she shall raise the

2    laminated card or number.          If no potential juror has a response, I

3    will simply state “no response” and then ask the next question.

4    If you know it is your turn to respond to a question, you may

5    respond before I call your seat number by stating your seat number,

6    then your response.           That could expedite the process.

7                 3.    If a potential juror believes a question unduly

8    pries into a private matter, that potential juror may request to

9    respond    out    of    the    earshot     of   other     potential     jurors.     I’m

10   authorized to try to protect legitimate privacy interests, but also

11   am obligated to avoid secreting an aspect of the proceeding absent

12   a showing that secrecy is justified under a standard.

13                4.    The presentation of evidence and closing argument

14   portions of the trial are expected to be completed in approximately

15   six court days, after which it is anticipated that jury will

16   commence    deliberation.          Trial    will   be     conducted     on   Tuesdays,

17   Wednesdays, and Thursdays, from 9:00 a.m. to about 4:30 p.m.

18   However, once you commence jury deliberations, you will be expected

19   to deliberate every day except weekends until you complete your

20   deliberations.          Does     the   schedule     pose     a   problem      for   any
21   prospective jury?

22                5.    I    will    now    have     counsel    to    make   any    desired

23   introduction so that it can be determined whether any potential

24   juror knows or has had contact with a person named, and the United

25   States shall name anticipated witnesses it may have testify during

26   the trial.
27                      a.     Do you know, and/or, have you had contact with

28                             a person just named?
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1                6. This is a criminal case brought by the United States

2    against the defendant, Benjamin Macias.            The indictment charges

3    the defendant with conspiracy to distribute and to possess with

4    intent to distribute cocaine, distribution of cocaine, possession

5    of a firearm in furtherance of a drug trafficking crime, and with

6    being a felon in possession of a firearm.              The indictment simply

7    describes    the     charges   the   United   States    brings   against   the

8    defendant.        The indictment is not evidence and does not prove

9    anything.        Mr. Macias has pled not guilty to the charges and is

10   presumed innocent unless the government proves he is guilty beyond

11   a reasonable doubt.

12               7.      Do the allegations cause any potential juror to

13   prefer not being a juror on this case?

14               8.      Is there anything about the allegations which causes

15               you to feel that you might not be a fair juror in this

16               case?

17               9.      Is there any reason why you would not be able to be

18   a juror and/or to give your full attention to this case?

19               10.     Have you, any member of your family, or any close

20   friend been investigated and/or arrested for a crime, or been the
21   defendant in a criminal case?

22               11.     Do you have any religious or moral objection to

23   sitting in judgment of another’s conduct in a court of law?

24               12.     Would you tend to believe the testimony of a witness

25   just because of that witness’s present or former status as a law

26   enforcement officer and/or a criminal investigator?
27               13.     Would you tend to disbelieve the testimony of a

28   witness just because of the witness’s present or former status as
                                      3
     Case 2:15-cr-00125-DJC-CKD Document 190 Filed 11/02/18 Page 7 of 71


1    a law enforcement officer and/or a criminal investigator?

2                14.   Have you ever served as a juror in the past, in any

3    capacity?

4                      a.        State whether it was a civil or criminal case,

5                                and whether the jury reached a verdict, but do

6                                not state the actual verdict reached.

7                15.   Some of the people involved in this case may be of

8    a different race, ethnic background, or national origin than your

9    own.   Would that difference have any bearing on your ability to be

10   a fair and impartial juror?

11               16.   You are required to apply the law I will give you

12   even if you believe a different law should apply.                If you cannot

13   agree to do what I just said, please raise your number.

14               17.   Do you have any difficulty with the rule of law that

15   a person charged with a crime is presumed innocent and need not

16   present any evidence, and that the government has the burden of

17   proving guilt beyond a reasonable doubt?

18               18.   Do you have any problem with the rule of law that a

19   defendant need not testify on his own behalf and that if a defendant

20   chooses not to testify, that factor may not be considered by you
21   in your deliberations?

22               19.   Is there anything we have not discussed that you

23   believe could have a bearing on your ability to be a fair and

24   impartial    juror     in    this   case,   or   that   you   suspect   a   trial

25   participant would desire to know?

26               20.   The Courtroom Deputy Clerk will give the juror in
27   seat number one a sheet on which there is information we seek.

28   Please pass the sheet to a potential juror near you after you
                                   4
     Case 2:15-cr-00125-DJC-CKD Document 190 Filed 11/02/18 Page 8 of 71


1    respond.

2                Please state:

3                      a.    your juror seat number;

4                      b.    your name and educational background;

5                      c.    the   educational     background   of   any   person

6                            residing with you;

7                      d.    your present and former occupations; and

8                      e.    the   present   and   former   occupations    of   any

9                            person residing with you.

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                             INITIAL JURY INSTRUCTIONS
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1                            INITIAL INSTRUCTION NO. 1

2                 Ladies and gentlemen: you are now the jury in this case,

3     and I will give you some initial instructions.            You must follow

4     all of them and not single out some and ignore others; they are

5     all important.    You must not infer from these instructions or from

6     anything I may say or do that I have an opinion regarding the

7     evidence or what your verdict should be.

8                 It is your duty to find the facts from all the evidence

9     in the case.     To those facts you will apply the law I give you.

10    You must follow the law I give you whether you agree with it or

11    not.    And you must not be influenced by any personal likes or

12    dislikes, opinions, prejudices, or sympathy.          That means that you

13    must decide the case solely on the evidence before you.

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1                            INITIAL INSTRUCTION NO. 2

2                 The evidence you are to consider in deciding what the

3     facts are consists of:

4                   •   the sworn testimony of any witness;

5                   •   the exhibits received in evidence; and

6                   •   any facts to which the parties have agreed.

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1                              INITIAL INSTRUCTION NO. 3

2                 The following things are not evidence, and you must not

3     consider them as evidence in deciding the facts of this case:

4                   •   statements and arguments of the attorneys;

5                   •   questions and objections of the attorneys;

6                   •   testimony that I instruct you to disregard; and

7                   •   anything you may see or hear when the court is not

8                       in session even if what you see or hear is done or

9                       said   by   one   of   the   parties   or   by   one   of   the

10                      witnesses.

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1                            INITIAL INSTRUCTION NO. 4

2                 There are rules of evidence that control what can be

3     received in evidence. When a lawyer asks a question or offers an

4     exhibit in evidence and a lawyer on the other side thinks that it

5     is not permitted by the rules of evidence, that lawyer may object.

6     If I overrule the objection, the question may be answered or the

7     exhibit received. If I sustain the objection, the question cannot

8     be answered, or the exhibit cannot be received. Whenever I sustain

9     an objection to a question, you must ignore the question and must

10    not guess what the answer would have been.

11                Sometimes I may order that evidence be stricken from the

12    record and that you disregard or ignore the evidence. That means

13    that when you are deciding the case, you must not consider the

14    evidence that I told you to disregard.

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1                            INITIAL INSTRUCTION NO. 5

2                 In deciding the facts in this case, you may have to

3     decide which testimony to believe and which testimony not to

4     believe. You may believe everything a witness says, or part of it,

5     or none of it.

6                 In considering the testimony of any witness, you may take

7     into account:

8                   •   the witness’s opportunity and ability to see or hear

9                       or know the things testified to;

10                  •   the witness’s memory;

11                  •   the witness’s manner while testifying;

12                  •   the witness’s interest in the outcome of the case,

13                      if any;

14                  •   the witness’s bias or prejudice, if any;

15                  •   whether other evidence contradicted the witness’s

16                      testimony;

17                  •   the reasonableness of the witness’s testimony in

18                      light of all the evidence; and

19                  •   any other factors that bear on believability.

20                The   weight    of   the   evidence   as   to   a   fact   does   not
21    necessarily depend on the number of witnesses who testify about

22    it. What is important is how believable the witnesses are, and how

23    much weight you think their testimony deserves.

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     Case 2:15-cr-00125-DJC-CKD Document 190 Filed 11/02/18 Page 15 of 71


1                            INITIAL INSTRUCTION NO. 6
2                 I will now say a few words about your conduct as jurors.

3                 You are not to discuss this case with anyone, including

4     members of your family, people involved in the trial, or anyone

5     else; this includes discussing the case in person, in writing, by

6     phone or electronic means, via email, via text messaging, or by

7     any other medium, including any form of social media.          Nor are you

8     allowed to permit others to discuss the case with you.            If anyone

9     approaches you and tries to talk to you about the case, please let

10    me know about it immediately;

11                Do not read or listen to any news stories, articles,

12    radio, television, or online reports about the case or about anyone

13    who has anything to do with it;

14                Do not do any research, such as consulting dictionaries,

15    searching the Internet or using other reference materials, and do

16    not make any investigation about the case on your own;

17                If you need to communicate with me simply give a signed

18    note to the Courtroom Deputy Clerk, and if she is not present give

19    it to the court reporter;

20                Do not make up your mind about what the verdict should

21    be until after you have gone to the jury room to decide the case

22    and you and your fellow jurors have discussed the evidence. Keep

23    an open mind until then; and

24                Finally, until this case is given to you for your jury

25    deliberation, you are not to discuss the case with your fellow

26    jurors.

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1                               INITIAL INSTRUCTION NO. 7
2                 From   time    to   time   during   the   trial,   it   may   become

3     necessary for me to talk with the parties out of the hearing of

4     the jury, either by having a conference at the bench when the jury

5     is present in the courtroom, or by calling a recess.                      Please

6     understand that while you are waiting, we are working.              The purpose

7     of these conferences is not to keep relevant information from you,

8     but to decide how certain evidence is to be treated under the rules

9     of evidence and to avoid confusion and error.

10                Of course, we will do what we can to keep the number and

11    length of these conferences to a minimum.             I may not always grant

12    a party’s request for a conference.             Do not consider my granting

13    or denying a request for a conference as any indication of my

14    opinion of the case or of what your verdict should be.

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1                            INITIAL INSTRUCTION NO. 8

2                 During deliberations, you will have to make your decision

3     based on what you recall of the evidence.            You will not have a

4     transcript of the trial.      I urge you to pay close attention to the

5     testimony as it is given.

6                 If at any time you cannot hear or see the testimony,

7     evidence, questions or arguments, let me know so that I can correct

8     the problem.

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1                            INITIAL INSTRUCTION NO. 9

2                 If you wish, you may take notes to help you remember the

3     evidence.   If you do take notes, please keep them to yourself until

4     you and your fellow jurors go to the jury room to decide the case.

5     Do not let note-taking distract you from being attentive.             When

6     you leave court for recesses, your notes shall be left on the seat

7     you now occupy.

8                 Whether or not you take notes, you should rely on your

9     own memory of the evidence.      Notes are only to assist your memory.

10    You should not be overly influenced by your notes or those of your

11    fellow jurors.

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1                            INITIAL INSTRUCTION NO. 10

2                 The next phase of trial will now begin.       First, each side

3     may make an opening statement.              An opening statement is not

4     evidence.   It is simply an outline to help you understand what that

5     party expects the evidence will show.          A party is not required to

6     make an opening statement.

7                 The   government   will    then   present   evidence      and   the

8     defendant may cross examine.          Then, if the defendant chooses to

9     offer evidence, the government may cross examine.

10                After the evidence has been presented, the lawyers will

11    make closing arguments and I will give you further instructions.

12                After that, you will go to the jury room to deliberate

13    on your verdict.

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5        JURY INSTRUCTIONS THAT MAY BE GIVEN DURING TRIAL, IF A PARTY
                               MAKES THE REQUEST
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1                           MID-TRIAL INSTRUCTION NO. 1

2                 The parties have agreed to certain facts that have been

3     stated to you.     Those facts are now conclusively established.

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1                           MID-TRIAL INSTRUCTION NO. 2

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                  You are about to [hear][watch] [have heard][watched] a
3
      recording that has been received in evidence. [Please listen to it
4
      very carefully.] Each of you [has been][was] given a transcript of
5
      the recording to help you identify speakers and as a guide to help
6
      you listen to the recording. However, bear in mind that the
7
      recording is the evidence, not the transcript. If you [hear][heard]
8
      something     different    from    what   [appears][appeared]         in   the
9
      transcript, what you [hear][heard] is controlling. [[After][Now
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      that] the recording has been played, the transcript will be taken
11
      from you.].
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1                           MID-TRIAL INSTRUCTION NO. 3

2                 You [are about to hear testimony] [are about to see

3     evidence] that the defendant [summarize other act evidence]. This

4     evidence of other acts [will be] admitted only for [a] limited

5     purpose[s]. You may consider this evidence only for the purpose

6     of deciding whether the defendant: [had the state of mind,

7     knowledge, or intent necessary to commit the crime charged in the

8     indictment;] or [did not commit the acts for which the defendant

9     is on trial by accident or mistake;] or [is the person who

10    committed the crime charged in the indictment. You may consider

11    this evidence to help you decide [describe how the evidence will

12    be used to prove identity].

13                Do not consider this evidence for any other purpose.

14                Of course, it is for you to determine whether you

15    believe this evidence and, if you do believe it, whether you

16    accept it for the purpose offered. You may give it such weight as

17    you feel it deserves, but only for the limited purpose that I

18    described to you.

19                The defendant is not on trial for committing these

20    other acts. You may not consider the evidence of these other acts
21    as a substitute for proof that the defendant committed the

22    crime[s] charged. You may not consider this evidence as proof

23    that the defendant has a bad character or any propensity to

24    commit crimes. Specifically, you may not use this evidence to

25    conclude that, because the defendant may have committed the other

26    act[s], [he] must also have committed the act[s] charged in the
27    indictment.

28                Remember that the defendant is on trial here only for
                                         3
     Case 2:15-cr-00125-DJC-CKD Document 190 Filed 11/02/18 Page 24 of 71


1     [state charges], not for these other acts. Do not return a guilty

2     verdict unless the government proves the crime[s] charged in the

3     indictment beyond a reasonable doubt.

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1                           MID-TRIAL INSTRUCTION NO. 4

2                 You are about to hear evidence that [describe evidence

3     to be received for limited purpose].           I instruct you that this

4     evidence is admitted only for the limited purpose of [describe

5     purpose] and, therefore, you must consider it only for that limited

6     purpose and not for any other purpose.

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                        PROPOSED CLOSING JURY INSTRUCTIONS
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1                                 INSTRUCTION NO. 1

2                  Members of the jury, now that you have heard all the

3     evidence, it is my duty to instruct you on the law that applies to

4     this case.    Each of you now possesses a copy of these instructions

5     that you may take with you into the jury room to consult if you

6     desire.

7                  It is your duty to weigh and to evaluate all the evidence

8     received in the case and, in that process, to decide the facts.

9     It is also your duty to apply the law as I give it to you to the

10    facts as you find them, whether you agree with the law or not.

11                 You must decide the case solely on the evidence and the

12    law.   Do not allow personal likes or dislikes, sympathy, prejudice,

13    fear, or public opinion to influence you.         You should also not be

14    influenced by any person’s race, color, religion, or national

15    ancestry.

16                 You must follow all these instructions and not single

17    out some and ignore others; they are all important.          Please do not

18    read into these instructions or into anything I may have said or

19    done any suggestion as to what verdict you should return—that is a

20    matter entirely up to you.
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1                                 INSTRUCTION NO. 2

2                 The   indictment   is   not   evidence.    The   defendant   has

3     pleaded not guilty to the charges.          The defendant is presumed to

4     be innocent unless and until the government proves the defendant

5     guilty beyond a reasonable doubt.         In addition, the defendant does

6     not have to testify or present any evidence to any evidence.             The

7     defendant does not have to prove innocence; the government has the

8     burden of proving every element of the charges beyond a reasonable

9     doubt.

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1                                 INSTRUCTION NO. 3

2                 [A defendant in a criminal case has a constitutional

3     right not to testify.      You may not draw any inference of any kind

4     from the fact that the defendant did not testify.]

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6                 [The defendant has testified.         You should treat this

7     testimony just as you would the testimony of any other witness.]

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1                                 INSTRUCTION NO. 4

2                 Proof beyond a reasonable doubt is proof that leaves you

3     firmly convinced the defendant is guilty.         It is not required that

4     the government prove guilt beyond all possible doubt.

5                 A reasonable doubt is a doubt based upon reason and

6     common sense and is not based purely on speculation.          It may arise

7     from a careful and impartial consideration of all the evidence, or

8     from lack of evidence.

9                 If after a careful and impartial consideration of all

10    the evidence, you are not convinced beyond a reasonable doubt that

11    the defendant is guilty, it is your duty to find the defendant not

12    guilty.     On the other hand, if after a careful and impartial

13    consideration of all the evidence, you are convinced beyond a

14    reasonable doubt that the defendant is guilty, it is your duty to

15    find the defendant guilty.

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1                                 INSTRUCTION NO. 5

2                 The evidence you are to consider in deciding what the

3     facts are consists of:

4                   •   the sworn testimony of any witness;

5                   •   the exhibits received in evidence;

6                   •   any facts to which the parties have agreed; and

7                   •   any facts of such common knowledge that you may

8                       accept them as true, but you are not required to do

9                       so.

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1                                 INSTRUCTION NO. 6

2                 The parties have stipulated, that is agreed, to certain

3     facts that have been stated to you. You should therefore treat

4     these facts as having been proved beyond a reasonable doubt.

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1                                          INSTRUCTION NO. 7

2                 In       reaching    your    verdict   you    may    consider     only   the

3     testimony and exhibits received in evidence.                    The following things

4     are not evidence and you may not consider them in deciding what

5     the facts are:

6                      •    Questions, statements, objections, and arguments by

7                           the lawyers are not evidence.             The lawyers are not

8                           witnesses.        Although you must consider a lawyer’s

9                           questions to understand the answers of a witness,

10                          the lawyer’s questions are not evidence. Similarly,

11                          what     the    lawyers    have    said    in   their    opening

12                          statements, closing arguments, and at other times

13                          is intended to help you interpret the evidence, but

14                          it is not evidence.          If the facts as you remember

15                          them differ from the way the lawyers state them,

16                          your memory of them controls.

17                     •    Any testimony that I have excluded, stricken, or

18                          instructed you to disregard is not evidence.                    In

19                          addition, some evidence was received only for a

20                          limited purpose; when I have instructed you to
21                          consider certain evidence in a limited way, you must

22                          do so.

23                     •    Anything you may have seen or heard when the court

24                          was not in session is not evidence.                You are to

25                          decide the case solely on the evidence received at

26                          the trial.
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1                                    INSTRUCTION NO. 8

2                 Evidence     may    be   direct   or    circumstantial.            Direct

3     evidence is direct proof of a fact, such as testimony by a witness

4     about   what      that   witness     personally     saw     or    heard   or    did.

5     Circumstantial evidence is indirect evidence, that is, it is proof

6     of one or more facts from which you can find another fact.

7                 You    are   to    consider   both     direct   and    circumstantial

8     evidence.    Either can be used to prove any fact.               The law makes no

9     distinction between the weight to be given to either direct or

10    circumstantial evidence.         It is for you to decide how much weight

11    to give to any evidence.

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1                                 INSTRUCTION NO. 9

2                 In deciding the facts in this case, you may have to

3     decide which testimony to believe and which testimony not to

4     believe.    You may believe everything a witness says, or part of

5     it, or none of it.

6                 In considering the testimony of any witness, you may take

7     into account:

8                   •   the witness’s opportunity and ability to see or hear

9                       or know the things testified to;

10                  •   the witness’s memory;

11                  •   the witness’s manner while testifying;

12                  •   the witness’s interest in the outcome of the case,

13                      if any;

14                  •   the witness’s bias or prejudice, if any;

15                  •   whether other evidence contradicted the witness’s

16                      testimony;

17                  •   the reasonableness of the witness’s testimony in

18                      light of all the evidence; and

19                  •   any other factors that bear on believability.

20                Sometimes   a   witness   may   say   something   that    is   not
21    consistent with something else he or she said.        Sometimes different

22    witnesses will give different versions of what happened.              People

23    often forget things or make mistakes in what they remember.             Also,

24    two people may see the same event but remember it differently.             You

25    may consider these differences, but do not decide that testimony

26    is untrue just because it differs from other testimony.
27                However, if you decide that a witness has deliberately

28    testified untruthfully about something important, you may choose
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1     not to believe anything that witness said.            On the other hand, if

2     you think the witness testified untruthfully about some things but

3     told the truth about others, you may accept the part you think is

4     true and ignore the rest.

5                 The   weight   of   the   evidence   as   to   a   fact   does   not

6     necessarily depend on the number of witnesses who testify.                   What

7     is important is how believable the witnesses were, and how much

8     weight you think their testimony deserves.

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1                                 INSTRUCTION NO. 10

2                 You are here only to determine whether the defendant is

3     guilty or not guilty of the charges filed against him in the

4     indictment.     The defendant is not on trial for any conduct or

5     offense not charged against him in the indictment.

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1                                 INSTRUCTION NO. 11

2                 A separate crime is charged against the defendant in each

3     count.    You must decide each count separately.          Your verdict on

4     one count should not control your verdict on any other count.

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1                                 INSTRUCTION NO. 12

2                 The indictment charges that the offenses alleged were

3     committed “on or about” a certain date.

4                 Although it is necessary for the United States to prove

5     beyond a reasonable doubt that the offense was committed on a date

6     reasonably near the dates alleged in the indictment, it is not

7     necessary for the United States to prove that the offense was

8     committed precisely on the date charged.

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1                                 INSTRUCTION NO. 13

2                 You   have   heard   testimony   that   the   defendant   made   a

3     statement.    It is for you to decide whether the defendant made the

4     statement, and if so, how much weight to give to it.              In making

5     those decisions, you should consider all the evidence about the

6     statement, including the circumstances under which the defendant

7     may have made it.

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1                                 INSTRUCTION NO. 14

2                 You have heard evidence that the defendant committed

3     other acts not charged here.         You may consider this evidence only

4     for its bearing, if any, on the question of the defendant’s

5     knowledge,    identity,    absence    of    mistake,   and/or   absence   of

6     accident.

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1                                 INSTRUCTION NO. 15

2                 You have heard evidence that the defendant has

3     previously been convicted of a crime. You may consider that

4     evidence only as it may affect the defendant’s believability as a

5     witness.

6                 With only one exception, you may not consider a prior

7     conviction as evidence of guilt of the crime for which the

8     defendant is now on trial. The exception is in Count 10: There,

9     you may consider evidence that the defendant was previously

10    convicted of a crime in order to establish the third element of

11    the offense – namely, that at the time the defendant possessed

12    the firearm, the defendant had been convicted of a crime

13    punishable by imprisonment for a term exceeding one year.

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1                                 INSTRUCTION NO. 16

2                 You have heard testimony from [Cooperating Witness #1],

3     a witness who: (1) received favored treatment from the government

4     in connection with this case; (2) admitted being an accomplice to

5     some of the crimes charged. An accomplice is one who voluntarily

6     and intentionally joins with another person in committing a

7     crime; and (3) pleaded guilty to a crime arising out of the same

8     events for which the defendant is on trial. This guilty plea is

9     not evidence against the defendant, and you may consider it only

10    in determining this witness’s believability.

11                For these reasons, in evaluating the testimony of

12    [Cooperating Witness #1], you should consider the extent to which

13    or whether his testimony may have been influenced by any of these

14    factors. In addition, you should examine the testimony of

15    [Cooperating Witness #1] with greater caution than that of other

16    witnesses.

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1                                 INSTRUCTION NO. 17

2                 You have heard testimony from [Cooperating Witness #2],

3     a witness who received favored treatment from the government in

4     connection with this case.

5                 For this reason, in evaluating the testimony of

6     [Cooperating Witness #2], you should consider the extent to which

7     or whether his testimony may have been influenced by this factor.

8     In addition, you should examine the testimony of [Cooperating

9     Witness #2] with greater caution than that of other witnesses.

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1                                 INSTRUCTION NO. 18

2                 You have heard testimony from an undercover agent who

3     was involved in the government’s investigation in this case.          Law

4     enforcement officials may engage in stealth and deception, such as

5     the   use   of   informants    to   investigate    criminal    activities.

6     Informants may use false names and appearance and assume the roles

7     of members of criminal organizations.

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1                                  INSTRUCTION NO. 19

2                   You have heard testimony from [name] who testified to

3     opinions and the reasons for his opinions.         This opinion testimony

4     is allowed because of the education or experience of this witness.

5                   Such opinion testimony should be judged like any other

6     testimony.      You may accept it or reject it, and give it as much

7     weight   as    you   think   it   deserves,   considering   the   witness’s

8     education and experience, the reasons given for the opinion, and

9     all the other evidence in the case.

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1                                 INSTRUCTION NO. 20

2                 You heard testimony of eyewitness identification. In

3     deciding how much weight to give to this testimony, you may

4     consider the various factors mentioned in these instructions

5     concerning credibility of witnesses.

6                 In addition to those factors, in evaluating eyewitness

7     identification testimony, you may also consider:

8                   •   the capacity and opportunity of the eyewitness to

9                       observe the offender based upon the length of time

10                      for observation and the conditions at the time of

11                      observation, including lighting and distance;

12                  •   whether the identification was the product of the

13                      eyewitness’s own recollection or was the result of

14                      subsequent influence or suggestiveness;

15                  •   any inconsistent identifications made by the

16                      eyewitness;

17                  •   the witness’s familiarity with the subject

18                      identified;

19                  •   the strength of earlier and later identifications;

20                  •   lapses of time between the event and the
21                      identification[s]; and

22                  •   the totality of circumstances surrounding the

23                      eyewitness’s identification.

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1                                 INSTRUCTION NO. 21

2                 During the trial, certain charts and summaries were shown

3     to you to help explain the evidence in the case.          These charts and

4     summaries were not admitted in evidence and will not go into the

5     jury room with you.      They are not themselves evidence or proof of

6     any facts.    If they do not correctly reflect the facts or figures

7     shown by the evidence in the case, you should disregard these

8     charts and summaries and determine the facts from the underlying

9     evidence.

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1                                 INSTRUCTION NO. 22

2                 Certain   charts   and   summaries   have   been   admitted   in

3     evidence.    Charts and summaries are only as good as the underlying

4     supporting material.      You should, therefore, give them only such

5     weight as you think the underlying material deserves.

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1                                 INSTRUCTION NO. 23

2                 The defendant is charged in Count 1 of the indictment

3     with conspiring to distribute and possess with intent to

4     distribute cocaine, in violation of Section 841(a)(1) and Section

5     846 of Title 21 of the United States Code. In order for the

6     defendant to be found guilty of that charge, the government must

7     prove each of the following elements beyond a reasonable doubt:

8                 First, between in or about December 2014, and on or

9     about June 9, 2015, there was an agreement between two or more

10    people to distribute and to possess with intent to distribute

11    cocaine; and

12                Second, the defendant joined in the agreement knowing

13    of its purpose and intending to help accomplish that purpose.

14                “To distribute” means to deliver or transfer possession

15    of cocaine to another person, with or without any financial

16    interest in that transaction.

17                A conspiracy is a kind of criminal partnership—an

18    agreement of two or more people to commit one or more crimes. The

19    crime of conspiracy is the agreement to do something unlawful; it

20    does not matter whether the crime agreed upon was committed.
21                For a conspiracy to have existed, it is not necessary

22    that the conspirators made a formal agreement or that they agreed

23    on every detail of the conspiracy. It is not enough, however,

24    that they simply met, discussed matters of common interest, acted

25    in similar ways, or perhaps helped one another. You must

26    unanimously find that there was a plan to distribute and to
27    possess with intent to distribute cocaine as the object or

28    purpose of the conspiracy.
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1                 One becomes a member of a conspiracy by knowingly

2     participating in the unlawful plan with the intent to advance or

3     further some object or purpose of the conspiracy, even though the

4     person does not have full knowledge of all the details of the

5     conspiracy. Furthermore, one who knowingly joins an existing

6     conspiracy is as responsible for it as the originators. On the

7     other hand, one who has no knowledge of a conspiracy, but happens

8     to act in a way which furthers some object or purpose of the

9     conspiracy, does not thereby become a conspirator. Similarly, a

10    person does not become a conspirator merely by associating with

11    one or more persons who are conspirators, nor merely by knowing

12    that a conspiracy exists.

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1                                 INSTRUCTION NO. 24

2                 If you find the defendant guilty of the charge in Count

3     1 of the indictment, you are then to determine whether the

4     government proved beyond a reasonable doubt that the amount of

5     cocaine involved in the conspiracy equaled or exceeded 500 grams

6     of a mixture and substance containing a detectable amount of

7     cocaine. Your determination of weight must not include the weight

8     of any packaging material. Your decision as to weight must be

9     unanimous.

10                The government does not have to prove that the

11    defendant knew the quantity of cocaine involved in the

12    conspiracy.

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1                                 INSTRUCTION NO. 25

2                 The defendant is charged in Counts 4, 5, 6, and 7 of

3     the indictment with distributing cocaine, in violation of Section

4     841(a)(1) of Title 21 of the United States Code. In order for the

5     defendant to be found guilty of each charge, the government must

6     prove each of the following elements beyond a reasonable doubt:

7                 First, the defendant knowingly distributed cocaine on

8     the dates alleged in the Indictment; and

9                 Second, the defendant knew that he was distributing

10    cocaine or some other federally controlled substance.

11                “Distributing” means delivering or transferring

12    possession of cocaine to another person, with or without any

13    financial interest in that transaction.

14                The government is not required to prove the amount or

15    quantity of cocaine. It need only prove beyond a reasonable doubt

16    that there was a measurable or detectable amount of cocaine.

17                Count 4 alleges that the distribution occurred on or

18          about December 16, 2014.

19                Count 5 alleges that the distribution occurred on or

20          about February 10, 2015.
21                Count 6 alleges that the distribution occurred on or

22          about March 13, 2015.

23                Count 7 alleges that the distribution occurred on or

24          about May 15, 2015.

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1                                 INSTRUCTION NO. 26

2                 The defendant is charged in Count 8 of the indictment

3     with possession with intent to distribute cocaine, in violation

4     of Section 841(a)(1) of Title 21 of the United States Code. In

5     order for the defendant to be found guilty of that charge, the

6     government must prove each of the following elements beyond a

7     reasonable doubt:

8                 First, on or about June 9, 2015, the defendant

9           knowingly possessed cocaine; and

10                Second, the defendant possessed it with the intent to

11          distribute it to another person.

12                It does not matter whether the defendant knew that the

13    substance was cocaine. It is sufficient that the defendant knew

14    that it was some kind of a federally controlled substance.

15                To “possess with intent to distribute” means to possess

16    with intent to deliver or transfer possession of cocaine to

17    another person, with or without any financial interest in the

18    transaction.

19                A person has possession of something if the person

20    knows of its presence and has physical control of it, or knows of
21    its presence and has the power and intention to control it.

22                More than one person can be in possession of something

23    if each knows of its presence and has the power and intention to

24    control it.

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1                                   INSTRUCTION NO. 27

2                    If you find the defendant guilty of the charge in Count

3     8   of   the    indictment,   you   are    then   to   determine   whether   the

4     government proved beyond a reasonable doubt that the amount of

5     cocaine equaled or exceeded 500 grams of a mixture and substance

6     containing a detectable amount of cocaine. Your determination of

7     weight must not include the weight of any packaging material. Your

8     decision as to weight must be unanimous.

9                    The government does not have to prove that the defendant

10    knew the quantity of cocaine.

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1                                 INSTRUCTION NO. 28
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3                 The defendant is charged in Count 9 of the indictment
4     with possession of a firearm in furtherance of a drug trafficking
5     crime, in violation of Section 924(c) of Title 18 of the United
6     States Code. In order for the defendant to be found guilty of that
7     charge, the government must prove each of the following elements
8     beyond a reasonable doubt:
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                  First, the defendant committed the crime of possession
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      with intent to distribute cocaine, as charged in Count 8 of the
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      indictment, which I instruct you is a drug trafficking crime;
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13                Second, on or about June 9, 2015, the defendant knowingly
14    possessed a firearm, specifically, a Ruger 9mm pistol, serial
15    number 306-23543; and
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                  Third,    the   defendant      possessed   that    firearm   in
17
      furtherance of the crime of possession with intent to distribute
18
      cocaine, as charged in Count 8 of the indictment.
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20                A person “possesses’ a firearm if the person knows of
21    its presence and has physical control of it, or knows of its
22    presence and has the power and intention to control it.
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2                                 INSTRUCTION NO. 29

3                 The defendant is charged in Count 10 of the indictment

4     with possession of a firearm by a felon, in violation of Section

5     922(g)(1) of Title 18 of the United States Code. In order for the

6     defendant to be found guilty of that charge, the government must

7     prove each of the following elements beyond a reasonable doubt:

8                 First, on or about June 9, 2015, the defendant

9     knowingly possessed a firearm, specifically, a Ruger 9mm pistol,

10    serial number 306-23543;

11                Second, the firearm had been shipped or transported

12    from one state to another; and

13                Third, at the time the defendant possessed the firearm,

14    the defendant had been convicted of a crime punishable by

15    imprisonment for a term exceeding one year. [The defendant

16    stipulates that on June 9, 2015, the defendant had previously

17    been convicted of a crime punishable by imprisonment for a term

18    exceeding one year.]

19                A person “possesses’ a firearm if the person knows of

20    its presence and has physical control of it, or knows of its
21    presence and has the power and intention to control it.

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2                                 INSTRUCTION NO. 30

3                 An act is done knowingly if the defendant is aware of

4     the act and does not act through ignorance, mistake, or accident.

5     The government is not required to prove that the defendant knew

6     his acts or omissions were unlawful.        You may consider evidence of

7     the defendant’s words, acts, or omissions, along with all the other

8     evidence, in deciding whether the defendant acted knowingly.

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1                                 INSTRUCTION NO. 31
2                  When you begin your deliberations, elect one member of

3     the   jury   as   your   presiding   juror   who    will   preside   over   the

4     deliberations and speak for you here in court.

5                  You will then discuss the case with your fellow jurors

6     to reach agreement if you can do so.         Your verdict, whether guilty

7     or not guilty, must be unanimous.

8                  Each of you must decide the case for yourself, but you

9     should do so only after you have considered all the evidence,

10    discussed it fully with the other jurors, and listened to the views

11    of your fellow jurors.

12                 Do not be afraid to change your opinion if the discussion

13    persuades you that you should.          But do not come to a decision

14    simply because other jurors think it is right.

15                 It is important that you attempt to reach a unanimous

16    verdict but, of course, only if each of you can do so after having

17    made your own conscientious decision.              Do not change an honest

18    belief about the weight and effect of the evidence simply to reach

19    a verdict.

20                 Perform these duties fairly and impartially.              Do not

21    allow personal likes or dislikes, sympathy, prejudice, fear, or

22    public opinion to influence you.       You should also not be influenced

23    by any person’s race, color, or national ancestry.

24                 It is your duty as jurors to consult with one another

25    and to deliberate with one another with a view towards reaching an

26    agreement if you can do so.      During your deliberations, you should

27    not hesitate to reexamine your own views and change your opinion

28    if you become persuaded that it is wrong.
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1                                 INSTRUCTION NO. 32

2                 Because you must base your verdict only on the evidence

3     received in the case and on these instructions, I remind you that

4     you must not be exposed to any other information about the case

5     or to the issues it involves. Except for discussing the case with

6     your fellow jurors during your deliberations:

7                 Do not communicate with anyone in any way and do not

8     let anyone else communicate with you in any way about the merits

9     of the case or anything to do with it. This includes discussing

10    the case in person, in writing, by phone or electronic means, via

11    email, text messaging, or any Internet chat room, blog, website

12    or other feature. This applies to communicating with your family

13    members, your employer, the media or press, and the people

14    involved in the trial. If you are asked or approached in any way

15    about your jury service or anything about this case, you must

16    respond that you have been ordered not to discuss the matter and

17    to report the contact to the court.

18                Do not read, watch, or listen to any news or media

19    accounts or commentary about the case or anything to do with it;

20    do not do any research, such as consulting dictionaries,
21    searching the Internet or using other reference materials; and do

22    not make any investigation or in any other way try to learn about

23    the case on your own.

24                The law requires these restrictions to ensure the

25    parties have a fair trial based on the same evidence that each

26    party has had an opportunity to address. A juror who violates
27    these restrictions jeopardizes the fairness of these

28    proceedings[, and a mistrial could result that would require the
                                      35
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1     entire trial process to start over]. If any juror is exposed to

2     any outside information, please notify the court immediately.

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1                                 INSTRUCTION NO. 33

2                 Some of you have taken notes during the trial.            Whether

3     or not you took notes, you should rely on your own memory of what

4     was said.    Notes are only to assist your memory.          You should not

5     be overly influenced by your notes or those of your fellow jurors.

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1                                 INSTRUCTION NO. 34

2                 The punishment provided by law for this crime is for the

3     court to decide.       You may not consider punishment in deciding

4     whether the government has proved its case against the defendant

5     beyond a reasonable doubt.

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1                                 INSTRUCTION NO. 35

2                 A verdict form has been prepared for you.       After you have

3     reached unanimous agreement on a verdict, your presiding juror

4     should complete the verdict form according to your deliberations,

5     sign and date it, and advise the Court Security Officer that you

6     are ready to return to the courtroom.

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1                                 INSTRUCTION NO. 36

2                 If it becomes necessary during your deliberations to

3     communicate with me, you may send a note through the Court Security

4     Officer, signed by any one or more of you.         No member of the jury

5     should ever attempt to communicate with me except by a signed

6     writing, and I will respond to the jury concerning the case only

7     in writing or here in open court.          If you send out a question, I

8     will consult with the lawyers before answering it, which may take

9     some time.    You may continue your deliberations while waiting for

10    the answer to any question.       You are not to tell anyone—including

11    me—how the jury stands, numerically or otherwise, on any question

12    submitted to you, including the question of the guilt of the

13    defendant, until after you have reached a unanimous verdict or have

14    been discharged.

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                                PROPOSED VERDICT FORM
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1                           UNITED STATES DISTRICT COURT

2                          EASTERN DISTRICT OF CALIFORNIA

3

4      UNITED STATES OF AMERICA,             No. 2:15-cr-125-GEB
5                    Plaintiff,
6            v.                              VERDICT FORM
7      BENJAMIN MACIAS,
8                    Defendant.
9
                  WE, THE JURY, UNANIMOUSLY FIND THE DEFENDANT, BENJAMIN
10
      MACIAS, AS FOLLOWS:
11

12
      AS TO COUNT 1 OF THE INDICTMENT:
13
       GUILTY        NOT GUILTY
14                                   Conspiracy to distribute and possess
                                     with intent to distribute cocaine, in
15                                   violation of Title 21, United States
       __________    __________      Code sections 846 and 841(a)(1)
16

17
            If you found the defendant guilty of Count One, do you find
18          that the defendant conspired to distribute and possess with
19          intent to distribute cocaine?

20          Yes ______             No ______

21

22

23

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25
            If you found the defendant guilty of Count 1, you must make a
26          special finding as to the amount of cocaine the defendant
            conspired to distribute.
27

28          Do you find beyond a reasonable doubt that the defendant
                                            2
     Case 2:15-cr-00125-DJC-CKD Document 190 Filed 11/02/18 Page 69 of 71


1           conspired to distribute or conspired to possess with an intent
            to distribute:
2
            (place an X on the appropriate line):
3

4           ______ 500 grams or more
            ______ Less than 500 grams
5

6
      AS TO COUNT 4 OF THE INDICTMENT:
7
       GUILTY        NOT GUILTY
8                                    Distribution of Cocaine, in violation
                                     of Title 21, United States Code section
9                                    841(a)(1).
       __________    __________
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12    AS TO COUNT 5 OF THE INDICTMENT:
13     GUILTY        NOT GUILTY
                                     Distribution of Cocaine, in violation
14                                   of Title 21, United States Code section
                                     841(a)(1).
15     __________    __________
16

17    AS TO COUNT 6 OF THE INDICTMENT:
18     GUILTY        NOT GUILTY
                                     Distribution of Cocaine, in violation
19                                   of Title 21, United States Code section
                                     841(a)(1).
20     __________    __________
21

22    AS TO COUNT 7 OF THE INDICTMENT:
23     GUILTY        NOT GUILTY
                                     Distribution of Cocaine, in violation
24                                   of Title 21, United States Code section
                                     841(a)(1).
25     __________    __________
26
27    AS TO COUNT 8 OF THE INDICTMENT:
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     Case 2:15-cr-00125-DJC-CKD Document 190 Filed 11/02/18 Page 70 of 71


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       GUILTY        NOT GUILTY
2                                    Possession with Intent to Distribute
                                     Cocaine, in violation of Title 21,
3                                    United States Code section 841(a)(1).
       __________    __________
4
            If you found the defendant guilty of Count 8, you must make a
5           special finding as to the amount of cocaine the defendant
            possessed with an intent to distribute.
6

7           Do you find beyond a reasonable doubt that the defendant
            possessed with an intent to distribute:
8
            (place an X on the appropriate line):
9
            ______ 500 grams or more
10          ______ Less than 500 grams
11

12    AS TO COUNT 9 OF THE INDICTMENT:

13     GUILTY        NOT GUILTY
                                     Possession of a Firearm in Furtherance
14                                   of a Drug Trafficking Crime, in
                                     violation of Title 18, United States
       __________    __________      Code section 924(c)(1)(A).
15

16

17    AS TO COUNT 10 OF THE INDICTMENT:

18     GUILTY        NOT GUILTY
                                     Felon in Possession of a Firearm, in
19                                   violation of Title 18, United States
                                     Code section 922(g)(1).
20     __________    __________

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26     DATED                                 FOREPERSON

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